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                          United States District Court
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

 VIRGINIA INNOVATION SCIENCES,
 INC.
                                                    CIVIL ACTION NO. 4:18-CV-00474
 v.                                                 JUDGE MAZZANT
                                                    LEAD CASE
 AMAZON.COM, INC.


 INNOVATION SCIENCES, LLC

 v.                                                 CIVIL ACTION NO. 4:18-CV-00475
                                                    JUDGE MAZZANT
 RESIDEO TECHNOLOGIES, INC.


 INNOVATION SCIENCES, INC.

 v.                                                 CIVIL ACTION NO. 4:18-CV-00476
                                                    JUDGE MAZZANT
 HTC CORPORATION


 INNOVATION SCIENCES, INC.

 v.                                                 CIVIL ACTION NO. 4:18-CV-00477
                                                    JUDGE MAZZANT
 VECTOR SECURITY, INC.


                                           ORDER

       Pending before the Court is Defendants’ Request for Clarification of Model Order

Focusing Patent Claims and Prior Art to Reduce Costs (Dkt. #121). After considering the request,

the response (Dkt. #122), the reply (Dkt. #127), surreply (Dkt. #139), notice of supplemental

authority (Dkt. #154) and the argument of counsel, the Court finds the request should be granted

and the Court finds as follow:




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   Each Defendant is permitted to make individual elections of prior art references and Plaintiff is

. allowed to modify its preliminary election of asserted claims to assert specifically tailored sets of

   claims against each Defendant. The parties shall confer with each other and prepare an order for

   the Court setting forth deadlines to make these elections.

          IT IS SO ORDERED.
           SIGNED this 3rd day of July, 2019.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE




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